 Case 2:11-cr-00768-BRM        Document 112        Filed 02/07/12   Page 1 of 3 PageID: 65




                      UNITED StaTES DISThZCT COURT
                         DISTRI’DT Q NEW JERSEY

                                              :    kon.   Jose L.   Linazes
UNITED STA1S OF AMEIC.

            v.                                :    Criminal No.     1]—cr—768    (JLL)


•3OVANY CLER
        0    MOt’]T
           a/k/a “Rims”                            ORDER FO CONTXNUNCE




                                                           the
            This matter haiirg been opened to the Court on

joint application of sauL                .   Fishman,   United States Attorney for

                                         (Michael H.      Robertson,   1ssistant U.S.
tre District of New Jery

            appearing)              dfendant •3OVANY CLERMONT           (anthony C.
Attorney,                     and



Mack,   Esq.,    appearing),        o:       an order granting a continuance of

                                    d matter,                       and the defendant
the proceedings in he bo”e-captione
                                     have the matter brought to
being aware that. he has th right to

trial within         70 days of th clat.e of his appearance before a

judicial officer of thi              Curt pursuant to Title 18 of the United

                     Section 31(.1 ( ) (1),       and as the defendant has
States Code,
                                                  and for good and sufficient
consented to such a coni.inarice,

cause shown,
                                                 that this action should
                IT IS ThE FINI:IN OF THIS CC’URT

                            ciing reasons:
 be continued for the foI.l
                                                      x,               due to the
                1.    This case i sufficiently comple
                                                                      are the
                                             The charges in this case
 nature of the proseCuti)fl.
                          tigatiofl,                and the discovery involves
 result of a lengthy invs
                                                       ires adequate
                             that defense counsel requ
 numerous audio recordings
                        :tS unreasonable to
                                            expect adeqqte
 time to review and it
                   _______,




      Case 2:11-cr-00768-BRM        Document 112       Filed 02/07/12   Page 2 of 3 PageID: 66




preparation for pretrial :;‘ro:eedings and trial within the time

limits est.ablished by Tit]e               .8,   United States Code,      Section 3161;

and;

              2.     Taking into ac’:ount the exercise of dilience,

therefore,     the facts of tIis case requir that defense counsel be

permitted a reasonable arncun. of addiLioial time fo effective

preparation in this matte]: ad it is unreasonable to expect

adequate preparation for T:relrial proceedings within the time

limits provided by the Speed                  Trial Act of 1974;

              3.         As a result: 01      the foregoing,       pursuant to Title

18,    United States Code,          Se’:t:on 3161(h) (7),         the ends of justice

served by granting the cori:iruance outweigh the best interest of

the public and the defendart in a speedy trial.

              iT IS,         therefore,   cn this      t%2    —   day of February,” 2012

              ORDERED that thi5 action be,                   and hereby is,   continued
                     r
until April                     2012;   inc    it is further

              ORDERED that Defincant shal.. file pretria) motions on

or before February 24,             20L;       and it is further

              ORDERED that the Gcverrirnent shall respond to such

motions on or before MarcI 9,                  2012; and it is further

              ORDERED thatthe rurn date for pretrial motions shall
                (7           L:. •N)
be March      7’ I   2O12 and it is further
                         ,




              ORDERED that the Trial shall commence on

April          ,    2012 at 10:00 a.n.;            and it is further


                                                 —2—
  Case 2:11-cr-00768-BRM   Document 112    Filed 02/07/12   Page 3 of 3 PageID: 67




                                       e from February 24, 2012
          ODEREJ that th priod of tim
                                                          es of
                        2 sh11 be excluded for the p’rpos
tirogh April J , 201
                            dy Trial Act of 1974.
computing time under che pe




                                          Ho n
                                                  States District Judge




2ichael . chertsoi
  sisanL u.S. Ft:orne’í




 Arith \ C. Mack, E q.
                         ron:
 Attorney for Jovany C!e
